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                                      United States Bankruptcy Court
                                       Middle District of Florida
In re:                                                                                  Case No. 20-06687-CPM
Joseph Bruce Harris                                                                     Chapter 7
Judith Isolyn Laverne Allen-Harris
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 113A-8           User: cahyen                 Page 1 of 2                   Date Rcvd: Sep 02, 2020
                               Form ID: 309A                Total Noticed: 35


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 04, 2020.
db/jdb         +Joseph Bruce Harris,    Judith Isolyn Laverne Allen-Harris,    13593 Paddington Way,
                 Spring Hill, FL 34609-6331
29149308       +Altiva financial incorporated,     1000 Parkwood circle,   suite 600,    Atlanta, GA 30339-2173
29149313       +Citibank/Best Buy,    Citicorp Credit Srvs/Centralized Bk dept,     Po Box 790034,
                 St Louis, MO 63179-0034
29149319       +First Nataional Bank/Legacy,    Attn: Bankruptcy,    Po Box 5097,    Sioux Falls, SD 57117-5097
29149320       +Florida Cancer Specialists,    PO Box 919527,    Orlando, FL 32891-0001
29149321       +Flynn LaVrar, Esq.,    1133 S. University Drive,    2nd Floor,    Fort Lauderdale, FL 33324-3303
29149323       +Hernando Coounty Court,    20 N. Main St.,    362,   Brooksville, FL 34601-2893
29149325       +Lakeview Loan Servicing LLC,    PO Box 8068,    Virginia Beach, VA 23450-8068
29149327       +Midland Fund,    Attn: Bankruptcy,    350 Camino De La Reine Ste 100,    San Diego, CA 92108-3007
29149331       +Penn Credit,    P.O. Box 988,   Harrisburg, PA 17108-0988
29149332        Response,    380 S 670 W,   Lindon, UT 84042
29149333        Sallie Mae,    c/o Sallie Mae Guarantee Ser,    P.O. Box 6180,    Indianapolis, IN 46206-6180
29149334       +The Bureaus Inc,    Attn: Bankruptcy,    650 Dundee Rd, Ste 370,    Northbrook, IL 60062-2757

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: c.violette@hotmail.com Sep 03 2020 01:20:41        C Ryan Violette,
                 Wajda & Associates,    d/b/a Recovery Law Group,    Post Office Box 518,    Sarasota, FL 34230
tr             +EDI: QAESPOSITO.COM Sep 03 2020 04:58:00       Angela Welch,    12157 West Linebaugh Avenue,
                 PMB 401,   Tampa, FL 33626-1732
ust            +E-mail/Text: ustpregion21.tp.ecf@usdoj.gov Sep 03 2020 01:22:29
                 United States Trustee - TPA7/13,    Timberlake Annex, Suite 1200,     501 E Polk Street,
                 Tampa, FL 33602-3949
29149324        EDI: HNDA.COM Sep 03 2020 04:58:00       Honda Financial Services,    P.O. Box 166469,
                 Irving, TX 75016
29149307       +EDI: ATTWIREBK.COM Sep 03 2020 04:58:00       AT&T,    c/o Business Bankruptcy,    PO Box 769,
                 Arlington, TX 76004-0769
29149305       +EDI: GMACFS.COM Sep 03 2020 04:58:00       Ally Financial,    Attn: Bankruptcy,    Po Box 380901,
                 Bloomington, MN 55438-0901
29149306        EDI: AQUAFINANCE.COM Sep 03 2020 04:58:00       Aqua Finance Inc,    P.O. Box 3256,
                 Milwaukee, WI 53201-3256
29149309       +EDI: BANKAMER.COM Sep 03 2020 04:58:00       Bank of America,    4909 Savarese Circle,
                 Fl1-908-01-50,    Tampa, FL 33634-2413
29149310       +EDI: TSYS2.COM Sep 03 2020 04:58:00       Barclays Bank Delaware,    Attn: Bankruptcy,
                 Po Box 8801,   Wilmington, DE 19899-8801
29149311       +EDI: CAPITALONE.COM Sep 03 2020 04:58:00       Capital One,    Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City, UT 84130-0285
29149314       +EDI: WFNNB.COM Sep 03 2020 04:58:00       Comenity Bank/Talbots,    Attn: Bankruptcy,
                 Po Box 182125,    Columbus, OH 43218-2125
29149315       +E-mail/Text: bankruptcy@connexuscu.org Sep 03 2020 01:22:42        Connexus CU,    Attn: Bankruptcy,
                 Po Box 8026,   Wausau, WI 54402-8026
29149316       +E-mail/PDF: creditonebknotifications@resurgent.com Sep 03 2020 01:32:28         Credit One Bank,
                 Attn: Bankruptcy Department,    Po Box 98873,    Las Vegas, NV 89193-8873
29149317       +EDI: TSYS2.COM Sep 03 2020 04:58:00       Deptartment Store National Bank/Macy’s,
                 Attn: Bankruptcy,    9111 Duke Boulevard,    Mason, OH 45040-8999
29149318       +E-mail/Text: bknotice@ercbpo.com Sep 03 2020 01:22:08        Enhanced Recovery Corp,
                 Attn: Bankruptcy,    8014 Bayberry Road,    Jacksonville, FL 32256-7412
29149322       +EDI: PHINGENESIS Sep 03 2020 04:58:00       Genesis Bc/Celtic Bank,    Attn: Bankruptcy,
                 Po Box 4477,   Beaverton, OR 97076-4401
29149312        EDI: JPMORGANCHASE Sep 03 2020 04:58:00       Chase Card Services,    Attn: Bankruptcy,
                 Po Box 15298,    Wilmington, DE 19850
29149326        EDI: WFNNB.COM Sep 03 2020 04:58:00       Lane Bryant Retail,    P.O. Box 659728,
                 San Antonio, TX 78265-9728
29149328       +EDI: NAVIENTFKASMSERV.COM Sep 03 2020 04:58:00       Navient,    Attn: Bankruptcy,    Po Box 9640,
                 Wiles-Barr, PA 18773-9640
29149329       +EDI: HFC.COM Sep 03 2020 04:58:00       Neiman Marcus,    P.O. Box 5235,
                 Carol Stream, IL 60197-5235
29149330       +E-mail/Text: bnc@nordstrom.com Sep 03 2020 01:21:38        Nordstrom FSB,   Attn: Bankruptcy,
                 Po Box 6555,   Englewood, CO 80155-6555
29149335       +EDI: VERIZONCOMB.COM Sep 03 2020 04:58:00       Verizon,    Verizon Wireless Bk Admin,
                 500 Technology Dr Ste 550,    Weldon Springs, MO 63304-2225
                                                                                                TOTAL: 22

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                          TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
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                                      Form ID: 309A                      Total Noticed: 35


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 04, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 2, 2020 at the address(es) listed below:
              Angela Welch    welchtrustee@gmail.com, aesposito@ecf.axosfs.com
              C Ryan Violette   on behalf of Debtor Joseph Bruce Harris c.violette@hotmail.com
              C Ryan Violette   on behalf of Joint Debtor Judith Isolyn Laverne Allen-Harris
               c.violette@hotmail.com
              United States Trustee - TPA7/13   USTPRegion21.TP.ECF@USDOJ.GOV
                                                                                             TOTAL: 4
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Information to identify the case:
Debtor 1              Joseph Bruce Harris                                                Social Security number or ITIN         xxx−xx−6850
                      First Name   Middle Name     Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2              Judith Isolyn Laverne Allen−Harris                                 Social Security number or ITIN         xxx−xx−2520
(Spouse, if filing)
                      First Name   Middle Name     Last Name                             EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Middle District of Florida
                                                                                         Date case filed for chapter 7 9/1/20
Case number:          8:20−bk−06687−CPM


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Joseph Bruce Harris                                 Judith Isolyn Laverne Allen−Harris

2.      All other names used in the
        last 8 years

3.     Address                                   13593 Paddington Way                               13593 Paddington Way
                                                 Spring Hill, FL 34609                              Spring Hill, FL 34609

4.     Debtor's attorney                         C Ryan Violette                                    Contact phone 941−366−1800
                                                 Wajda & Associates
       Name and address                          d/b/a Recovery Law Group                           Email: c.violette@hotmail.com
                                                 Post Office Box 518
                                                 Sarasota, FL 34230

5.     Bankruptcy Trustee                        Angela Welch                                       Contact phone 813−814−0836
                                                 12157 West Linebaugh Avenue
       Name and address                          PMB 401
                                                 Tampa, FL 33626

Notice is further given that effective on the date of the Petition, the United States Trustee appointed the above named individual as interim
trustee pursuant to 11 USC § 701.
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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Debtor Joseph Bruce Harris and Judith Isolyn Laverne Allen−Harris                                                Case number 8:20−bk−06687−CPM


6. Bankruptcy Clerk's Office                    Sam M. Gibbons United States Courthouse                      Hours open:
                                                801 North Florida Avenue, Suite 555                          Monday − Friday 8:30 AM − 4:00PM
    Documents in this case may be filed at this Tampa, FL 33602
    address. You may inspect all records filed                                                               Contact phone 813−301−5162
    in this case at this office or online at
    www.pacer.gov.
                                                                                                             Date: September 2, 2020

7. Meeting of creditors                          October 6, 2020 at 10:30 AM                                 Meeting will be held telephonically

     Debtors must attend the meeting to be                                                        Trustee: Angela Welch
     questioned under oath. In a joint case,                                                      Call in number: 877−810−8611
     both spouses must attend. Creditors may                                                      Passcode: 8464102
     attend, but are not required to do so. You The meeting may be continued or adjourned
     are reminded that Local Rule 5073−1        to a later date. If so, the date will be on the
     restricts the entry of personal electronic
     devices into the Courthouse.               court docket.
 *** Debtor must provide a Photo ID and acceptable proof of Social Security Number to the Trustee in the manner directed by the Trustee. ***


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge                   Filing deadline: December 7, 2020
                                               or to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize
                                                 an exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                 it later appears that assets are available to pay creditors, the clerk will send you another notice telling
                                                 you that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if
                                                 you have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                 exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive
                                                 the objection by the deadline to object to exemptions in line 9.


13. Voice Case Info. System                      McVCIS provides basic case information concerning deadlines such as case opening, discharge,
    (McVCIS)                                     and closing dates, and whether a case has assets or not. McVCIS is accessible 24 hours a day
                                                 except during routine maintenance. To access McVCIS toll free call 1−866−222−8029.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                  page 2
